    Case: 1:18-cv-02341 Document #: 73 Filed: 02/27/20 Page 1 of 2 PageID #:1359




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ROBERTO ALMODOVAR, JR.,                        )
                                               )
       Plaintiff,                              )
                                               )      Case No. 18 C 2341
       v.                                      )
                                               )
                                               )      Magistrate Judge M. David Weisman
REYNALDO GUEVARA, et al.,                      )
                                               )
       Defendants.                             )

                                              ORDER

       The case is before the Court on defendants’ motion to bifurcate the Monell claim and stay
Monell discovery. For the reasons set forth below, the Court grants the motion in part [49].

                                             Discussion
        In his Monell claim, plaintiff alleges that the City has “a widespread custom and practice”
of: (1) “suppress[ing] exculpatory and/or impeaching material;” (2) “manipulat[ing], trick[ing],
[lying] to, and mis[leading] witnesses . . . . to induce false identifications of suspects;” (3)
“operat[ing] a dysfunctional disciplinary system for . . . Officers accused of serious misconduct;”
(4) condon[ing] and facilitat[ing] a code of silence [in] the Chicago Police Department;” (5)
conducting . . . coercive interrogations of witnesses . . . to obtain false statements and wrongful
convictions;” (6) “manufacturing and fabricating false witness statements, and manipulating and
lying to witnesses to influence unreliable and inaccurate testimony;” (7) “filing false reports and
giving false statements and testimony about interrogations and witness interviews . . . [,]
suppressing evidence concerning interrogations and/or witness interviews . . . [, and] pursuing and
obtaining wrongful prosecutions and false imprisonments on the basis of fabricated witness
statements;” and (8) failing adequately to train its officers in all of these areas. (ECF 1 ¶¶ 179-88,
193.)

        Defendants say the Monell claim should be severed for trial from the claims plaintiff asserts
against the individual defendants. See Fed. R. Civ. P. 42(b) (permitting courts to separate claims
for trial “[f]or convenience, to avoid prejudice, or to expedite and economize”). This case,
however, is not on the eve of trial. Thus, whether it is appropriate to sever the Monell claim for
trial and approve the City’s proposed limited consent judgment is not ripe at this time.

        That does not mean, however, that Monell discovery should proceed. See Fed. R. Civ. P.
26(c) (giving courts discretion to limit the scope of discovery or specify the time for discovery).
Though Monell liability is not always contingent on the liability of individual defendants, see
Thomas v. Cook County Sheriff’s Department, 604 F.3d 293, 305 (7th Cir. 2010), a successful
Monell claim still requires a constitutional injury. Plaintiff says defendants violated his
    Case: 1:18-cv-02341 Document #: 73 Filed: 02/27/20 Page 2 of 2 PageID #:1360




constitutional rights by fabricating evidence and intentionally suppressing exculpatory evidence.
Given these allegations, it is difficult to conceive of a scenario in which the City would be held
liable for these injuries and the individual defendants would not. Thus, in this case, it makes sense
to stay Monell discovery until discovery on the claims against the individual defendants is
completed and any summary judgment motion they may file has been decided. If the individual
defendants do not file a motion for summary judgment, or file one that the District Court decides
in plaintiff’s favor, then Monell discovery can begin.

         Admittedly, this approach may lead to two rounds of discovery and two summary judgment
motions instead of one. But the discovery process will be more efficient and manageable if the
first round focuses on the alleged fabrication of evidence and suppression of exculpatory evidence
and the second round focuses on the Monell claims. Moreover, structuring discovery in this way
will not hinder any party’s ability to gather evidence in support of their claims or defenses.
Accordingly, the Court stays Monell discovery until further order of the Court.

                                             Conclusion
        For the reasons set forth above, the Court grants in part defendants’ motion to bifurcate the
Monell claim and stay Monell discovery [49]. The motion is granted as to the request for a stay
and in all other respects is denied without prejudice. Monell discovery is stayed until further order
of the Court.

SO ORDERED.                                   ENTERED: February 27, 2020




                                              M. David Weisman
                                              United States Magistrate Judge
